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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   :          Criminal No. 21-cr-158
                                            :
KYLE FITZSIMONS                             :
                                            :
                      Defendant.            :




                                    NOTICE OF FILING

       The Government requests that the attached discovery letter, dated April 17, 2021, be

made part of the record in the above-captioned case.

                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney


                              By:           /s/ Puja Bhatia
                                            PUJA BHATIA
                                            BRANDON REGAN
                                            Assistant United States Attorneys
                                            U.S. Attorney’s Office for the District of Columbia
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
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                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia

                                                     Judiciary Center
                                                     555 Fourth St. N.W.
                                                     Washington, D.C. 20530


                                                     April 17, 2021
DISCOVERY LETTER #1

Greg Hunter, Esq.
Defense Counsel

                                  Re:       United States v. Kyle Fitzsimons
                                            21-CR-158

Dear Counsel:

Pursuant to our discovery obligations, we have provided the following files via USAfx on April 15,
2021. Note that USAfx only keeps files it’s the shared drive for 60 days so please download
them before they are deleted:
• 35 Gully Oven Road (97)
• Toyota Tundra (35)


We have provided the following files via USAfx on April 15, 2021:
• Mis-Identification through Public Tips:
          o 089B-WF-3377667_0000056_1A0000008_0000001_Redacted
          o 089B-WF-3377667_0000027_Import_Redacted
          o 089B-WF-3377667_0000027_Redacted
          o 089B-WF-3377667_0000027_1A0000010_0000001
          o 089B-WF-3377667_0000027_1A0000010_0000003
          o 089B-WF-3377667_0000027_1A0000010_0000002
          o 089B-WF-3377667_0000027_1A0000010_0000004_Redacted
          o 089B-WF-3377667_0000056_Import_Redacted
          o 089B-WF-3377667_0000056_Redacted
          o 089B-WF-3377667_0000004_Import
          o Serial 4
          o 089B-WF-3377667_0000004_1A0000003_0000002



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            o 089B-WF-3377667_0000004_1A0000003_0000001
•   Fitzsimons Phone Images (15)


We have provided the following files via USAfx on April 6, 2021 ahead of the detention hearing in
this matter:
• VOICEMSG[ID=962855 G=40 F=3
• BOLO-139_0074USCHBALowerWTerraceDoorExterior_2021-01-
    06_15h57min42s260ms.mp4_clip_790_910
• BOS Meeting 1-7-2021
• 20210106_-_RIOT_-_CAPITAL_BUILDING.mp4_clip_140_250


Also, many of these files and their related physical attachments are currently being formally
processed for discovery by the discovery team assigned to the Capitol Riots cases. As such, some of
the same files will be re-produced with bates-stamps at a later date.

We recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83 (1963),
its progeny, and Rule 16. We have provided the mis-identification information described above in
line with such obligations. We will continue provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, we will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

We request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules of
Criminal Procedure, including results or reports of any physical or mental examinations, or scientific
tests or experiments, and any expert witness summaries. We also request that defendant(s) disclose
prior statements of any witnesses defendant(s) intends to call to testify at any hearing or trial. See
Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). We request that such material be
provided on the same basis upon which the government will provide defendant(s) with materials
relating to government witnesses.

Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, we request that
defendant(s) provide the government with the appropriate written notice if defendant(s) plans to use
one of the defenses referenced in those rules. Please provide any notice within the time period
required by the Rules or allowed by the Court for the filing of any pretrial motions.

We will forward additional discovery as it becomes available. If you have any questions, please feel
free to contact us.


                                       By: /s/ Puja Bhatia
                                           PUJA BHATIA
                                           BRANDON REGAN
                                           Assistant United States Attorneys


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